                 Case 22-11068-JTD         Doc 213-2     Filed 12/12/22     Page 1 of 24



                                                 Exhibit A

                  Voluntary Chapter 11 Petition filed in Case No. 22-11076 (Bankr. D. Del)




 AMERICAS 119151055


RLF1 28342690v.1
                           Case
                             Case
                                22-11068-JTD
                                  22-11076-JTD Doc
                                                 Doc
                                                   213-2
                                                     1 Filed
                                                          Filed
                                                              11/11/22
                                                                12/12/22 Page
                                                                           Page
                                                                              1 of
                                                                                2 of
                                                                                   2324

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


                                  Delaware
 ____________________ District of _________________
                                        (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                   Check if this is an
                                                                                                                                      amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                            FTX Property Holdings Ltd
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                9 ___
                                              ___ 8 – ___
                                                       1 ___
                                                          6 ___
                                                             2 ___
                                                                8 ___
                                                                   6 ___
                                                                      3 ___
                                                                         5
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                Mailing address, if different from principal place
                                                                                                         of business

                                                          Shirley Street
                                              ______________________________________________             _______________________________________________
                                              Number     Street                                          Number     Street

                                               G.K. Symonette Building
                                              ______________________________________________             _______________________________________________
                                                                                                         P.O. Box

                                               Nassau, New Providence
                                              ______________________________________________             _______________________________________________
                                              City                        State    ZIP Code              City                      State      ZIP Code


                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                               Bahamas
                                              ______________________________________________
                                              County                                                     _______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________

                                                                                                         _______________________________________________
                                                                                                         City                      State      ZIP Code




 5.   Debtor’s website (URL)                  ____________________________________________________________________________________________________




Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
                           Case
                             Case
                                22-11068-JTD
                                  22-11076-JTD Doc
                                                 Doc
                                                   213-2
                                                     1 Filed
                                                          Filed
                                                              11/11/22
                                                                12/12/22 Page
                                                                           Page
                                                                              2 of
                                                                                3 of
                                                                                   2324

Debtor        FTX Property Holdings Ltd
              _______________________________________________________                         Case number (if known)_____________________________________
              Name




 6.   Type of debtor                      
                                          ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          
                                          ✔ None of the above


                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              5 ___
                                             ___ 2 ___
                                                    3 ___
                                                       9

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                          
                                          ✔ Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                           
                                                           The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
                              Case
                                Case
                                   22-11068-JTD
                                     22-11076-JTD Doc
                                                    Doc
                                                      213-2
                                                        1 Filed
                                                             Filed
                                                                 11/11/22
                                                                   12/12/22 Page
                                                                              Page
                                                                                 3 of
                                                                                   4 of
                                                                                      2324

Debtor          FTX Property Holdings Ltd
                _______________________________________________________                      Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases        ✔ No
                                          
       filed by or against the debtor
       within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY

 10.   Are any bankruptcy cases            No
       pending or being filed by a
                                          ✔ Yes.
                                                           See Annex 1
                                                    Debtor _____________________________________________ Relationship _________________________
       business partner or an
       affiliate of the debtor?                     District _____________________________________________ When               __________________
       List all cases. If more than 1,                                                                                        MM / DD / YYYY
       attach a separate list.                      Case number, if known ________________________________



 11.   Why is the case filed in this      Check all that apply:
       district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.

                                          
                                          ✔ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.



 12.   Does the debtor own or have        
                                          ✔ No
       possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard? _____________________________________________________________________

                                                      It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).

                                                      Other _______________________________________________________________________________



                                                   Where is the property?_____________________________________________________________________
                                                                             Number          Street

                                                                             ____________________________________________________________________

                                                                             _______________________________________         _______ ________________
                                                                             City                                            State ZIP Code


                                                   Is the property insured?

                                                      No
                                                      Yes. Insurance agency ____________________________________________________________________

                                                            Contact name     ____________________________________________________________________

                                                            Phone            ________________________________




               Statistical and administrative information




 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
                              Case
                                Case
                                   22-11068-JTD
                                     22-11076-JTD Doc
                                                    Doc
                                                      213-2
                                                        1 Filed
                                                             Filed
                                                                 11/11/22
                                                                   12/12/22 Page
                                                                              Page
                                                                                 4 of
                                                                                   5 of
                                                                                      2324

Debtor        FTX Property Holdings Ltd
              _______________________________________________________                           Case number (if known)_____________________________________
              Name




 13.   Debtor’s estimation of            Check one:
       available funds                   
                                         ✔ Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                          1-49                               1,000-5,000                                25,001-50,000
 14.   Estimated number of                50-99                              5,001-10,000                               50,001-100,000
       creditors
                                          100-199                            10,001-25,000                             
                                                                                                                         ✔ More than 100,000
                                          200-999

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 15. Estimated      assets               $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                  
                                                                                                                         ✔ $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 16. Estimated      liabilities          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                  
                                                                                                                         ✔ $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


             Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.   Declaration and signature of      Q   The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                             petition.
       debtor
                                         Q   I have been authorized to file this petition on behalf of the debtor.

                                         Q   I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                            11/11/2022
                                             Executed on _________________
                                                         MM / DD / YYYY


                                         8    /s/ John J. Ray
                                             _____________________________________________                 John J. Ray III
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor             Printed name

                                                    Chief Executive Officer
                                             Title _________________________________________




    (VWLPDWHVSURYLGHGRQDFRQVROLGDWHGEDVLVDVRI'HFHPEHU
 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 4
                          Case
                            Case
                               22-11068-JTD
                                 22-11076-JTD Doc
                                                Doc
                                                  213-2
                                                    1 Filed
                                                         Filed
                                                             11/11/22
                                                               12/12/22 Page
                                                                          Page
                                                                             5 of
                                                                               6 of
                                                                                  2324

Debtor        FTX Property Holdings Ltd
              _______________________________________________________                     Case number (if known)_____________________________________
              Name




 18.   Signature of attorney
                                        8     /s/ Adam G. Landis
                                            _____________________________________________            Date          11/11/2022
                                                                                                                _________________
                                            Signature of attorney for debtor                                    MM    / DD / YYYY



                                            Adam G. Landis
                                           _________________________________________________________________________________________________
                                           Printed name
                                            Landis Rath & Cobb LLP
                                           _________________________________________________________________________________________________
                                           Firm name
                                           919         North Market Street, Suite 1800
                                           _________________________________________________________________________________________________
                                           Number     Street
                                            Wilmington
                                           ____________________________________________________             DE
                                                                                                           ____________  19801
                                                                                                                        ______________________________
                                           City                                                            State        ZIP Code

                                            (302) 467-4400
                                           ____________________________________                             landis@lrclaw.com
                                                                                                           __________________________________________
                                           Contact phone                                                   Email address



                                            3407
                                           ______________________________________________________  DE
                                                                                                  ____________
                                           Bar number                                             State




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
                               Case
                                 Case
                                    22-11068-JTD
                                      22-11076-JTD Doc
                                                     Doc
                                                       213-2
                                                         1 Filed
                                                              Filed
                                                                  11/11/22
                                                                    12/12/22 Page
                                                                               Page
                                                                                  6 of
                                                                                    7 of
                                                                                       2324

 Fill in this information to identify the case and this filing:


              FTX Property Holdings Ltd
 Debtor Name __________________________________________________________________
                                                                            Delaware
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



              Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

              Schedule H: Codebtors (Official Form 206H)

              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

              Amended Schedule ____


              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the  Largest Unsecured Claims and Are Not Insiders (Official Form 204)


         ✔                                               Corporate Ownership Statement
               Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    11/11/2022
        Executed on ______________                         8     /s/ John J. Ray
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 John J. Ray III
                                                                ________________________________________________________________________
                                                                Printed name

                                                                Chief Executive Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
            Case
              Case
                 22-11068-JTD
                   22-11076-JTD Doc
                                  Doc
                                    213-2
                                      1 Filed
                                           Filed
                                               11/11/22
                                                 12/12/22 Page
                                                            Page
                                                               7 of
                                                                 8 of
                                                                    2324




                                            ANNEX 1

         Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

              On the date hereof, each of the entities listed below (collectively, the “Debtors”)
filed a petition in the U.S. Bankruptcy Court for the District of Delaware for relief under Title 11
of the United States Code. The Debtors intend to move for joint administration of these cases
under the case number assigned to the Chapter 11 case of FTX Trading Ltd.

   1.       Alameda Aus Pty Ltd
   2.       Alameda Global Services Ltd.
   3.       Alameda Research (Bahamas) Ltd
   4.       Alameda Research Holdings Inc.
   5.       Alameda Research KK
   6.       Alameda Research LLC
   7.       Alameda Research Ltd
   8.       Alameda Research Pte Ltd
   9.       Alameda Research Yankari Ltd
   10.      Alameda TR Ltd
   11.      Alameda TR Systems S. de R. L.
   12.      Allston Way Ltd
   13.      Altalix Ltd
   14.      Analisya Pte Ltd
   15.      Atlantis Technology Ltd.
   16.      B for Transfer Egypt
   17.      B Payment Services Nigeria
   18.      B Transfer Services Ltd
   19.      B Transfer Services Ltd. UAE
   20.      B Transfer Services Uganda
   21.      Bancroft Way Ltd
   22.      BitPesa Kenya Ltd.
   23.      BitPesa RDC SARL
   24.      BitPesa Senegal Ltd.
   25.      BitPesa South Africa
      Case
        Case
           22-11068-JTD
             22-11076-JTD Doc
                            Doc
                              213-2
                                1 Filed
                                     Filed
                                         11/11/22
                                           12/12/22 Page
                                                      Page
                                                         8 of
                                                           9 of
                                                              2324




26.   BitPesa Tanzania Ltd.
27.   BitPesa Uganda Ltd.
28.   Bitvo, Inc.
29.   Blockfolio Holdings, Inc.
30.   Blockfolio, Inc.
31.   Blue Ridge Ltd
32.   BT Payment Services Ghana
33.   BT Payment Services South Africa
34.   BT Payments Uganda
35.   BT Pesa Nigeria Ltd.
36.   BTC Africa S.A.
37.   BTLS Limited Tanzania
38.   Cardinal Ventures Ltd
39.   Cedar Bay Ltd
40.   Cedar Grove Technology Services, Ltd
41.   Clifton Bay Investments LLC
42.   Clifton Bay Investments Ltd
43.   CM-Equity AG
44.   Corner Stone Staffing
45.   Cottonwood Grove Ltd
46.   Cottonwood Technologies Ltd.
47.   Crypto Bahamas LLC
48.   DAAG Trading, DMCC
49.   Deck Technologies Holdings LLC
50.   Deck Technologies Inc.
51.   Deep Creek Ltd
52.   Digital Custody Inc.
53.   Euclid Way Ltd
54.   Exchange 4 Free Seychellen
55.   Exchange 4Free Australia Br.
56.   Exchange 4Free Ltd.
      Case
        Case
           22-11068-JTD
             22-11076-JTDDocDoc
                             213-2
                                1 Filed
                                    Filed11/11/22
                                          12/12/22 Page
                                                    Page9 10
                                                          of 23
                                                             of 24




57.   Exchange 4Free South Africa Br.
58.   Exchange 4Free Swiss Branch
59.   Finfax Company
60.   FTX (Gibraltar) Ltd
61.   FTX Canada Inc
62.   FTX Certificates GmbH
63.   FTX Crypto Services Ltd.
64.   FTX Digital Assets LLC
65.   FTX Digital Holdings (Singapore) Pte Ltd
66.   FTX EMEA Ltd.
67.   FTX Equity Record Holdings Ltd
68.   FTX Europe AG
69.   FTX Exchange FZE
70.   FTX Hong Kong Ltd
71.   FTX Japan Holdings K.K.
72.   FTX Japan K.K.
73.   FTX Japan Services KK
74.   FTX Lend Inc.
75.   FTX Marketplace, Inc.
76.   FTX Products (Singapore) Pte Ltd
77.   FTX Property Holdings Ltd
78.   FTX Services Solutions Ltd.
79.   FTX Structured Products AG
80.   FTX Switzerland GmbH
81.   FTX Trading GmbH
82.   FTX Trading Ltd
83.   FTX TURKEY TEKNOLOJİ VE TİCARET ANONİM ŞİRKET
84.   FTX US Derivatives LLC
85.   FTX US Services, Inc.
86.   FTX US Trading, Inc
87.   FTX Vault Trust Company
       Case
         Case
            22-11068-JTD
              22-11076-JTD Doc
                            Doc213-2
                                 1 Filed
                                      Filed
                                          11/11/22
                                            12/12/22 Page
                                                       Page
                                                          1011
                                                             of of
                                                                2324




88.    FTX Ventures Ltd
89.    FTX Ventures Partnership
90.    FTX Zuma Ltd
91.    GG Trading Terminal Ltd
92.    Global Compass Dynamics Ltd.
93.    Good Luck Games, LLC
94.    Goodman Investments Ltd.
95.    Hannam Group Inc
96.    Hawaii Digital Assets Inc.
97.    Hilltop Technology Services LLC
98.    Hive Empire Trading Pty Ltd
99.    Innovatia Ltd
100.   Island Bay Ventures Inc
101.   K-DNA Financial Services Ltd
102.   Killarney Lake Investments Ltd
103.   Ledger Holdings Inc.
104.   LedgerPrime Bitcoin Yield Enhancement Fund, LLC
105.   LedgerPrime Bitcoin Yield Enhancement Master Fund LP
106.   LedgerPrime Digital Asset Opportunities Fund, LLC
107.   LedgerPrime Digital Asset Opportunities Master Fund LP
108.   Ledger Prime LLC
109.   LedgerPrime Ventures, LP
110.   Liquid Financial USA Inc.
111.   LiquidEX LLC
112.   Liquid Securities Singapore Pte Ltd
113.   LT Baskets Ltd.
114.   Maclaurin Investments Ltd.
115.   Mangrove Cay Ltd
116.   North Dimension Inc
117.   North Dimension Ltd
118.   North Wireless Dimension Inc
       Case
         Case
            22-11068-JTD
              22-11076-JTD Doc
                            Doc213-2
                                 1 Filed
                                      Filed
                                          11/11/22
                                            12/12/22 Page
                                                       Page
                                                          1112
                                                             of of
                                                                2324




119.   Paper Bird Inc
120.   Pioneer Street Inc.
121.   Quoine India Pte Ltd
122.   Quoine Pte Ltd
123.   Quoine Vietnam Co. Ltd
124.   SNG INVESTMENTS YATIRIM VE DANIŞMANLIK ANONİM ŞİRKETİ
125.   Strategy Ark Collective Ltd.
126.   Technology Services Bahamas Limited
127.   Tigetwit Ltd
128.   TransferZero
129.   Verdant Canyon Capital LLC
130.   West Innovative Barista Ltd.
131.   West Realm Shires Financial Services Inc.
132.   West Realm Shires Services Inc.
133.   Western Concord Enterprises Ltd.
134.   Zubr Exchange Ltd
DocuSign Envelope ID: 245C6A4E-CB65-4118-9D31-D6631AE86C9A
                          Case
                            Case
                               22-11068-JTD
                                 22-11076-JTD Doc
                                               Doc213-2
                                                    1 Filed
                                                         Filed
                                                             11/11/22
                                                               12/12/22 Page
                                                                          Page
                                                                             1213
                                                                                of of
                                                                                   2324




                                                  Omnibus Corporate Authority
                    I, Samuel Benjamin Bankman-Fried, as controlling owner, director, officer, manager or
            other authorized person with respect to West Realm Shires Inc., Paper Bird Inc., Hilltop
            Technology Services LLC, Cedar Grove Technologies Services, Ltd., FTX Trading Ltd,
            Alameda Research LLC and Clifton Bay Investments LLC (the “Top Companies”), and all of
            their directly and indirectly owned subsidiaries (together with the Top Companies, the “FTX
            Group”), hereby authorize, instruct and consent to the following corporate actions with respect to
            all members of the FTX Group:
                    (i)    the appointment of John J. Ray III (the “CEO”) as Chief Executive Officer with
            plenary authority to exercise all powers and authority capable of delegation to an officer under
            applicable law, including without limitation in connection with a voluntary filing for protection
            from creditors under Title 11 of the United States Code and any restructuring and insolvency-
            related proceeding that may be appropriate or necessary, or may be commenced by third parties,
            with respect to all members of the FTX Group;
                   (ii)    the execution and delivery of any agreements, documents or instruments the CEO
            determines to be appropriate in connection with the foregoing;
                  (iii)   the retention of counsel and other advisors, and the execution and delivery of any
            agreements, documents or instruments in connection with the foregoing;
                    (iv) the appointment of Stephen Neal (if willing to serve) as Chairman of the Board, to the
            extent applicable law permits me to so designate him as such, and one to three other individuals chosen
            by the CEO and not affiliated with me or the CEO as new directors of FTX Trading Ltd.;
                    (v)     the appointment of Stephen Neal (if willing to serve) as Chairman of the Board, to the
            extent applicable law permits me to so designate him as such, and one to three other individuals chosen
            by the CEO and not affiliated with me or the CEO as new directors of Alameda Research Ltd.;
                    (vi)    the appointment of Stephen Neal (if willing to serve) as Chairman of the Board, to the
            extent applicable law permits me to so designate him as such, and one to three other individuals
            chosen by the CEO and not affiliated with me or the CEO as new directors of West Realm Shires
            Inc.;
                   (vii) if the CEO shall so determine, the appointment of one or more individuals chosen
            by the CEO and not affiliated with me as director of other members of the FTX Group;
                  (iv)     the performance of any and all such acts as are reasonable, advisable, expedient,
            convenient, proper or necessary to effect the foregoing.
                   It is my wish that the CEO consult with my counsel at Paul, Weiss, Rifkind, Wharton &
            Garrison LLP with respect to the foregoing director appointments.


            Date: November 10, 2022                          ____________________________
                                                             Samuel Benjamin Bankman-Fried
            Case
              Case
                 22-11068-JTD
                   22-11076-JTD Doc
                                 Doc213-2
                                      1 Filed
                                           Filed
                                               11/11/22
                                                 12/12/22 Page
                                                            Page
                                                               1314
                                                                  of of
                                                                     2324




                         CORPORATE OWNERSHIP STATEMENT

                Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy

Procedure, FTX Trading Ltd., on behalf of itself and certain of its affiliates as debtors and

debtors-in-possession (collectively, the “Debtors”), respectfully represents:

                1.     100% of the equity of Alameda Aus Pty Ltd is owned by Alameda

Research Ltd.

                2.     100% of the equity of Alameda Global Services Ltd. is owned by

Alameda Research LLC.

                3.     100% of the equity of Alameda Research (Bahamas) Ltd is owned by

Alameda Research Ltd.

                4.     100% of the equity of Alameda Research Holdings Inc. is owned by

Alameda Research LLC.

                5.     100% of the equity of Alameda Research KK is owned by Alameda

Research LLC.

                6.     There is no parent corporation or publically held corporation that has been

identified owning 10% or more of the equity of Alameda Research LLC.

                7.     100% of the equity of Alameda Research Ltd is owned by Alameda

Research LLC.

                8.     100% of the equity of Alameda Research Pte Ltd is owned by Alameda

Research Ltd.

                9.     100% of the equity of Alameda Research Yankari Ltd is owned by

Alameda Research Ltd.
           Case
             Case
                22-11068-JTD
                  22-11076-JTD Doc
                                Doc213-2
                                     1 Filed
                                          Filed
                                              11/11/22
                                                12/12/22 Page
                                                           Page
                                                              1415
                                                                 of of
                                                                    2324




                10.      100% of the equity of Alameda TR Ltd is owned by Alameda Research

Ltd.

                11.      100% of the equity of Alameda TR Systems S. de R. L. is owned by

Alameda Research Ltd.

                12.      100% of the equity of Allston Way Ltd is owned by FTX Trading Ltd.

                13.      100% of the equity of Altalix Ltd is owned by FTX Europe AG.

                14.      100% of the equity of Analisya Pte Ltd is owned by FTX Trading Ltd.

                15.      100% of the equity of Atlantis Technology Ltd. is owned by Alameda

Research Holdings Inc.

                16.      100% of the equity of B For Transfer Egypt is owned by B Transfer

Services Ltd.

                17.      Approximately 90% of B Payment Services Nigeria is owned by B

Transfer Services Ltd, and approximately 10% is owned by third party investors.

                18.      100% of the equity of B Transfer Services Ltd is owned by BTC Africa

S.A.

                19.      100% of the equity of B Transfer Services Ltd. UAE is owned by B

Transfer Services Ltd.

                20.      100% of the equity of B Transfer Services Uganda is owned by B Transfer

Services Ltd.

                21.      100% of the equity of Bancroft Way Ltd is owned by FTX Trading Ltd.

                22.      100% of the equity of BitPesa Kenya Ltd. is owned by BTC Africa S.A.

                23.      100% of the equity of BitPesa RDC SARL is owned by BTC Africa S.A.

                24.      100% of the equity of BitPesa Senegal Ltd. is owned by BTC Africa S.A.




                                                -2-
           Case
             Case
                22-11068-JTD
                  22-11076-JTD Doc
                                Doc213-2
                                     1 Filed
                                          Filed
                                              11/11/22
                                                12/12/22 Page
                                                           Page
                                                              1516
                                                                 of of
                                                                    2324




                25.      100% of the equity of BitPesa South Africa is owned by BTC Africa S.A.

                26.      100% of the equity of BitPesa Tanzania Ltd. is owned by BTC Africa S.A.

                27.      100% of the equity of BitPesa Uganda Ltd. is owned by BTC Africa S.A.

                28.      100% of the equity of Bitvo, Inc is owned by FTX Canada Inc.

                29.      100% of the equity of Blockfolio Holdings, Inc. is owned by FTX Trading

Ltd.

                30.      Approximately 52% of the equity of Blockfolio, Inc. is owned by

Blockfolio Holdings, Inc., and approximately 48% is owned by third party investors.

                31.      100% of the equity of Blue Ridge Ltd is owned by Alameda Research Ltd.

                32.      Approximately 70% of BT Payment Services Ghana is owned by B

Transfer Services Ltd, and approximately 10% is owned by third party investors.

                33.      100% of the equity of BT Payment Services South Africa is owned by B

Transfer Services Ltd.

                34.      100% of the equity of BT Payments Uganda is owned by B Transfer

Services Ltd.

                35.      100% of the equity of BT Pesa Nigeria Ltd. is owned by BTC Africa S.A.

                36.      100% of the equity of BTC Africa S.A. is owned by FTX Europe AG.

                37.      100% of the equity of BTLS Limited Tanzania is owned by B Transfer

Services Ltd.

                38.      100% of the equity of Cardinal Ventures Ltd is owned by Alameda

Research Ltd.

                39.      100% of the equity of Cedar Bay Ltd is owned by Alameda Research Ltd.




                                                -3-
           Case
             Case
                22-11068-JTD
                  22-11076-JTD Doc
                                Doc213-2
                                     1 Filed
                                          Filed
                                              11/11/22
                                                12/12/22 Page
                                                           Page
                                                              1617
                                                                 of of
                                                                    2324




                40.   There is no parent corporation or publically held corporation that has been

identified owning 10% or more of the equity of Cedar Grove Technology Services, Ltd.

                41.   There is no parent corporation or publically held corporation that has been

identified owning 10% or more of the equity of Clifton Bay Investments LLC.

                42.   100% of the equity of Clifton Bay Investments Ltd is owned by Clifton

Bay Investments LLC.

                43.   Approximately 10% of the equity of CM-Equity AG is owned by FTX

Europe AG, and approximately 90% is owned by third party investors.

                44.   100% of the equity of Corner Stone Staffing is owned by BTC Africa S.A.

                45.   100% of the equity of Cottonwood Grove Ltd is owned by Alameda

Research Ltd.

                46.   100% of the equity of Cottonwood Technologies Ltd is owned by

Alameda Research Ltd.

                47.   100% of the equity of Crypto Bahamas LLC is owned by FTX Trading

Ltd.

                48.   100% of the equity of DAAG Trading, DMCC is owned by FTX Europe

AG.

                49.   There is no parent corporation or publically held corporation that has been

identified owning 10% or more of the equity of Deck Technologies Holdings LLC.

                50.   100% of the equity of Deck Technologies Inc.is owned by Deck

Technologies Holdings LLC.

                51.   100% of the equity of Deep Creek Ltd is owned by FTX Trading Ltd.




                                               -4-
              Case
                Case
                   22-11068-JTD
                     22-11076-JTD Doc
                                   Doc213-2
                                        1 Filed
                                             Filed
                                                 11/11/22
                                                   12/12/22 Page
                                                              Page
                                                                 1718
                                                                    of of
                                                                       2324




                52.   100% of the equity of Digital Custody Inc. is owned by West Realm

Shires Inc.

                53.   100% of the equity of Euclid Way Ltd is owned by Alameda Research

Ltd.

                54.   100% of the equity of Exchange 4 Free Seychellen is owned by Exchange

4Free Ltd.

                55.   100% of the equity of Exchange 4Free Australia Br is owned by Exchange

4Free South Africa Br.

                56.   100% of the equity of Exchange 4Free Ltd. is owned by BTC Africa S.A.

                57.   100% of the equity of Exchange 4Free South Africa Br. is owned by

Exchange 4Free Ltd.

                58.   100% of the equity of Exchange 4Free Swiss Branch is owned by

Exchange 4Free Australia Br.

                59.   100% of the equity of Finfax Company is owned by BTC Africa S.A.

                60.   100% of the equity of FTX (Gibraltar) Ltd is owned by FTX Trading Ltd.

                61.   100% of the equity of FTX Canada Inc is owned by FTX Trading Ltd.

                62.   100% of the equity of FTX Certificates GmbH is owned by FTX Europe

AG.

                63.   100% of the equity of FTX Crypto Services Ltd. is owned by FTX

Trading Ltd.

                64.   100% of the equity of FTX Digital Assets LLC is owned by West Realm

Shires Financial Services Inc.




                                             -5-
              Case
                Case
                   22-11068-JTD
                     22-11076-JTD Doc
                                   Doc213-2
                                        1 Filed
                                             Filed
                                                 11/11/22
                                                   12/12/22 Page
                                                              Page
                                                                 1819
                                                                    of of
                                                                       2324




                65.   100% of the equity of FTX Digital Holdings (Singapore) Pte Ltd is owned

by FTX Trading Ltd.

                66.   100% of the equity of FTX EMEA Ltd. is owned by FTX Trading Ltd.

                67.   100% of the equity of FTX Equity Record Holdings Ltd is owned by FTX

Trading Ltd.

                68.   100% of the equity of FTX Europe AG is owned by FTX Trading Ltd.

                69.   100% of the equity of FTX Exchange FZE is owned by FTX Europe AG.

                70.   100% of the equity of FTX Hong Kong Ltd is owned by FTX Trading Ltd.

                71.   100% of the equity of FTX Japan Holdings K.K. is owned by FTX

Trading Ltd.

                72.   100% of the equity of FTX Japan K.K. is owned by FTX Japan Holdings

K.K.

                73.   100% of the equity of FTX Japan Services KK is owned by FTX Japan

Holdings K.K.

                74.   100% of the equity of FTX Lend Inc. is owned by West Realm Shires Inc.

                75.   100% of the equity of FTX Marketplace, Inc. is owned by West Realm

Shires Inc.

                76.   100% of the equity of FTX Products (Singapore) Pte Ltd is owned by FTX

Trading Ltd.

                77.   100% of the equity of FTX Property Holdings Ltd is owned by FTX

Trading Ltd.

                78.   100% of the equity of FTX Services Solutions Ltd. is owned by FTX

Trading Ltd.




                                             -6-
            Case
              Case
                 22-11068-JTD
                   22-11076-JTD Doc
                                 Doc213-2
                                      1 Filed
                                           Filed
                                               11/11/22
                                                 12/12/22 Page
                                                            Page
                                                               1920
                                                                  of of
                                                                     2324




                79.    100% of the equity of FTX Structured Products AG is owned by FTX

Europe AG.

                80.    100% of the equity of FTX Switzerland GmbH is owned by FTX Europe

AG.

                81.    100% of the equity of FTX Trading GmbH is owned by FTX Trading Ltd.

                82.    Approximately 75% of FTX Trading Ltd. is owned by Paper Bird Inc.,

and approximately 25% is owned by third party investors.

                83.    100% of the equity of FTX TURKEY TEKNOLOJİ VE TİCARET

ANONİM ŞİRKET is owned by FTX Trading Ltd.

                84.    100% of the equity of FTX US Derivatives LLC is owned by Ledger

Holdings Inc.

                85.    100% of the equity of FTX US Services, Inc. is owned by West Realm

Shires Services Inc.

                86.    100% of the equity of FTX US Trading, Inc. is owned by West Realm

Shires Services Inc.

                87.    100% of the interest in FTX Vault Trust Company is held by Digital

Custody Inc.

                88.    100% of the equity of FTX Ventures Ltd is owned by Paper Bird Inc.

                89.    100% of the equity of FTX Ventures Partnership is owned by FTX

Ventures Ltd.

                90.    100% of the equity of FTX Zuma Ltd is owned by FTX Trading Ltd.

                91.    100% of the equity of GG Trading Terminal Ltd is owned by FTX

Trading Ltd.




                                              -7-
              Case
                Case
                   22-11068-JTD
                     22-11076-JTD Doc
                                   Doc213-2
                                        1 Filed
                                             Filed
                                                 11/11/22
                                                   12/12/22 Page
                                                              Page
                                                                 2021
                                                                    of of
                                                                       2324




                92.    100% of the equity of Global Compass Dynamics Ltd. is owned by FTX

Trading Ltd.

                93.    100% of the equity of Good Luck Games, LLC. is owned by West Realm

Shires Inc.

                94.    100% of the equity of Goodman Investments Ltd is owned by Alameda

Research Holdings Inc.

                95.    100% of the equity of Hannam Group Inc is owned by Alameda Research

LLC.

                96.    100% of the equity of Hawaii Digital Assets Inc. is owned by West Realm

Shires Inc.

                97.    There is no parent corporation or publically held corporation that has been

identified owning 10% or more of the equity of Hilltop Technology Services LLC.

                98.    100% of the equity of Hive Empire Trading Pty Ltd is owned by FTX

Trading Ltd.

                99.    100% of the equity of Innovatia Ltd. is owned by FTX Trading Ltd.

                100.   100% of the equity of Island Bay Ventures Inc is owned by Paper Bird

Inc.

                101.   100% of the equity of K-DNA Financial Services Ltd is owned by FTX

Europe AG.

                102.   100% of the equity of Killarney Lake Investments Ltd is owned by

Alameda Research Holdings Inc.

                103.   100% of the equity of Ledger Holdings Inc. is owned by West Realm

Shires Inc.




                                                -8-
           Case
             Case
                22-11068-JTD
                  22-11076-JTD Doc
                                Doc213-2
                                     1 Filed
                                          Filed
                                              11/11/22
                                                12/12/22 Page
                                                           Page
                                                              2122
                                                                 of of
                                                                    2324




                104.   100% of the equity of LedgerPrime Bitcoin Yield Enhancement Fund,

LLC is owned by Ledger Prime LLC.

                105.   100% of the equity of LedgerPrime Bitcoin Yield Enhancement Master

Fund LP is owned by LedgerPrime Bitcoin Yield Enhancement Fund, LLC.

                106.   100% of the equity of LedgerPrime Digital Asset Opportunities Fund,

LLC is owned by Ledger Prime LLC.

                107.   100% of the equity of LedgerPrime Digital Asset Opportunities Master

Fund LP is owned by LedgerPrime Digital Asset Opportunities Fund, LLC.

                108.   100% of the equity of Ledger Prime LLC is owned by Alameda Research

LLC.

                109.   100% of the equity of LedgerPrime Ventures, LP is owned by Ledger

Prime LLC.

                110.   Approximately 50% of the equity of Liquid Financial USA Inc. is owned

by FTX Japan Holdings K.K. and approximately 50% is owned by third party investors.

                111.   100% of the equity of LiquidEX LLC is owned by Liquid Financial USA

Inc.

                112.   100% of the equity of Liquid Securities Singapore Pte Ltd is owned by

FTX Trading Ltd.

                113.   100% of the equity of LT Baskets Ltd. is owned by FTX Trading Ltd.

                114.   100% of the equity of Maclaurin Investments Ltd. is owned by Alameda

Research Ltd.

                115.   100% of the equity of Mangrove Cay Ltd is owned by FTX Trading Ltd.




                                               -9-
           Case
             Case
                22-11068-JTD
                  22-11076-JTD Doc
                                Doc213-2
                                     1 Filed
                                          Filed
                                              11/11/22
                                                12/12/22 Page
                                                           Page
                                                              2223
                                                                 of of
                                                                    2324




                116.   100% of the equity of North Dimension Inc is owned by Alameda

Research LLC.

                117.   100% of the equity of North Dimension Ltd is owned by Alameda

Research Ltd.

                118.   100% of the equity of North Wireless Dimension Inc is owned by

Alameda Research LLC.

                119.   There is no parent corporation or publically held corporation that has been

identified owning 10% or more of the equity of Paper Bird Inc.

                120.   100% of the equity of Pioneer Street Inc. is owned by West Realm Shires

Inc.

                121.   100% of the equity of Quoine India Pte Ltd is owned by FTX Japan K.K.

                122.   100% of the equity of Quoine Pte Ltd is owned by FTX Japan Holdings

K.K.

                123.   100% of the equity of Quoine Vietnam Co. Ltd is owned by FTX Japan

K.K.

                124.   100% of the equity of SNG INVESTMENTS YATIRIM VE

DANIŞMANLIK ANONİM ŞİRKETİ is owned by Alameda Research Ltd.

                125.   100% of the equity of Strategy Ark Collective Ltd. is owned by Alameda

Research Ltd.

                126.   100% of the equity of Technology Services Bahamas Limited is owned by

FTX Trading Ltd.

                127.   100% of the equity of Tigetwit Ltd is owned by FTX Europe AG.

                128.   100% of the equity of TransferZero is owned by BTC Africa S.A.




                                               -10-
           Case
             Case
                22-11068-JTD
                  22-11076-JTD Doc
                                Doc213-2
                                     1 Filed
                                          Filed
                                              11/11/22
                                                12/12/22 Page
                                                           Page
                                                              2324
                                                                 of of
                                                                    2324




               129.   100% of the equity of Verdant Canyon Capital LLC is owned by Alameda

Research LLC.

               130.   100% of the equity of West Innovative Barista Ltd. is owned by FTX

Trading Ltd.

               131.   100% of the equity of West Realm Shires Financial Services Inc. is owned

by West Realm Shires Inc.

               132.   100% of the equity of West Realm Shires Services Inc. is owned by West

Realm Shires Inc.

               133.   100% of the equity of Western Concord Enterprises Ltd. is owned by FTX

Trading Ltd.

               134.   100% of the equity of Zubr Exchange Ltd is owned by Innovatia Ltd.




                                             -11-
